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                     EXHIBIT D
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                                                                                                                                            LarsonP3000087
To: Celeste Ng v                                                                                                                                                          CD

                                                                              Jun 7, 2018, 5:39 PM


DAWN DORLAND AND HER ONE KIDNEY CAN GO AND FUCK THEMSELVES

                                                                                                                                                            Oh goddddddd

                                                                                                                                                      Seriously, thank you

                                                                                                                                            I feel in such a panic right now

I just replied and also forwsrdd to matt {I'm in the car to NH)

YOU DID NOTHING WRONG

DAWN CAN GO FUCK HER ONE KIDNEY

                                                                                                                                         Thank you for making me LAUGH!

                                                                                                                                                    I need that right now!!

She is fucking threatening w a lawyer as a way to intimidate you

Which is the shittiest power move

                                                                                                                  Do you think so?? Like does she have any grounds? Gah!

And one that only a seriously pathetic human being would do

IF you used exact words from her letter she might have something to complain about but I don't think it's
plagiarism

Even in that case you should have to pull the piece

DO NOT PULL THE PIECE

At most in that case you could rewrite those FEW lines

There is no right to say people can't write about you and the idiotic shit you do

                                                                      Okay, okay- I'm so worried! I honestly don't even know how they might compare; I' m worried there is
                                                                      similar language in there, but can it even be plagiarism if it was basically from a FB post? Gahl
